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                                               UNITED STATES DISTRICT COURT
                                           FOR THE EASTERN DISTRICT OF MICHIGAN

                             KEVIN LINDKE,
                                 Plaintiff,                              Case No.: 20-cv-10872
                                                                       Honorable Mark A. Goldsmith
                                   v.                                   Magistrate David R. Grand

                             JAMES R. FREED,                                   RESPONSE
                             in his personal and official
                             capacities,
                                    Defendants
                                                                 /

                             OUTSIDE LEGAL COUNSEL PLC               TODD J. SHOUDY (P41895)
OUTSIDE LEGAL COUNSEL PLC




                             PHILIP L. ELLISON (P74117)              VICTORIA R. FERRES (P78788)
                             Attorney for Plaintiff                  FLETCHER FEALKO SHOUDY &
     www.olcplc.com




                             PO Box 107                              FRANCIS, P.C.
                             Hemlock, MI 48626                       Attorneys for Defendant
                             (989) 642-0055                          1411 Third Street, Suite F
                             (888) 398-7003 - fax                    Port Huron, Michigan 48060
                             pellison@olcplc.com                     (810) 987-8444
                                                                     tshoudy@fletcherfealko.com
                                                                     vferres@fletcherfealko.com


                                    PLAINTIFF’S RESPONSE AND BRIEF IN OPPOSITION TO
                                     DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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                                      COUNTER STATEMENT OF QUESTIONS PRESENTED

                                                                  I.
                                            Is Defendant entitled to summary judgment?

                                                        Plaintiff answers: No.
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                                                 MOST APPLICABLE AUTHORITY

                                                              FRCP 56

                                       Packingham v. North Carolina, 137 S. Ct. 1730 (2017)

                               Knight First Am. Inst. v. Trump, 928 F.3d 226 (2nd Cir. 2019) (Knight I),
                                   en banc denied, 953 F.3d 216 (2nd Cir. 2020) (Knight First II)

                                          Davison v. Randall, 912 F.3d 666 (4th Cir. 2019)

                                   Signature Mgt. Team, LLC v. Doe, 876 F.3d 831 (6th Cir. 2017)
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                                                           INTRODUCTION

                                   “One of the prerogatives of American citizenship is the right to criticize

                             public men and measures…” Baumgartner v. United States, 322 U.S. 665,

                             673-674 (1944). When one of those public men “creates a Facebook page,

                             [he] generally opens a digital space for the exchange of ideas and

                             information.” Davison v. Loudoun Cnty., 267 F.Supp.3d 702, 716 (E.D. Va.

                             2017). Social media platforms like Facebook provide “perhaps the most

                             powerful mechanisms available to a private citizen to make his or her voice
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                             heard.” Packingham v. North Carolina, 137 S. Ct. 1730, 1737 (2017). This
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                             case, based on the Facebook social media platform, is just like Knight First

                             Am. Inst. v. Trump, 928 F.3d 226 (2nd Cir. 2019) (Knight I), en banc denied,

                             953 F.3d 216 (2nd Cir. 2020) (Knight First II). There, then President Trump

                             blocked Twitter users and impeded the flow of online conversations

                             regarding his @realDonaldTrump Twitter account—an account he opened

                             and used before he became President. After becoming President, Trump

                             used the social media platform to make public statements on a wide variety

                             of subjects and the public, in turn, was able to respond to and engage with

                             him and other users. The Second Circuit held this creates a public forum and

                             it is a First Amendment violation when the public figure excludes private

                             persons and their communications from the dialogue because they express


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                             views with which public figure disagrees. See also Davison v. Randall, 912

                             F.3d 666 (4th Cir. 2019); Attwood v. Clemons, 818 Fed. App’x. 863 (11th Cir.

                             2020); Robinson v. Hunt Cty., Texas, 921 F.3d 440, 447 (5th Cir. 2019). 1

                                   If this Court were to swap Defendant Freed for President Trump and

                             Facebook for Twitter, we have the same basic case. Summary judgment is

                             not warranted in favor of this content- and viewpoint-suppressing city

                             manager defendant.

                                                COUNTER STATEMENT OF FACTS
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                                   1.   Contested. Defendant has not offered any objective evidence of
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                             the same other than his own testimony. The objective evidence is that the

                             “JamesRFreed1” Page is registered to the City government. Exhibit 3.

                                   2.   Contested. Defendant has not offered any objective evidence of

                             the same other than his own testimony. He has not shown that he had or has

                             more than 5,000 “Facebook friends.” He failed to offer objective evidence

                             that a conversion took place. Moreover, Freed has a personal Facebook

                             profile under the username “james.freed.3192.”


                                   1
                                    There is a general consensus. E.g. One Wisconsin Now v. Kremer,
                             354 F. Supp. 3d 940 (W.D. Wis. 2019); Faison v. Jones, 440 F. Supp. 3d
                             1123 (E.D. Cal. 2020); Felts v. Reed, 2020 U.S. Dist. LEXIS 224489 (E.D.
                             Mo. 2020); Windom v. Harshbarger, 396 F.Supp.3d 675 (N.D.W.Va. 2019);
                             Scarborough v. Frederick Cnty. Sch. Bd., 2021 U.S. Dist. LEXIS 22977 (WD
                             Va, Feb. 8, 2021); but see Campbell v. Reisch, 986 F.3d 822 (8th Cir. 2021)
                             (candidate for office not a state actor when banning user).

                                                                  2
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                                   3.   Undisputed but it is not material that he is “unelected.”

                                   4.   Undisputed.

                                   5.   Contested. The assertion is untrue. Exhibit 3.

                                   6.   Undisputed except that the JamesRFreed1 Facebook Page is

                             not a personal page or profile; it is registered to the City of Port Huron.

                             Exhibit 3. It is undisputed that the narrative about section contains the

                             recited language but it is not material. Such is a common practice on official

                             government’s media accounts. For example—
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                             https://twitter.com/GovWhitmer (Exhibit 15).

                                   7.   Contested. Freed has not offered any objective evidence of the

                             same other than his own testimony. Moreover, the JamesRFreed1 Facebook

                             Page is registered to the City government. Exhibit 3.

                                   8.   Contested. The assertion is untrue. See Exhibit 2.

                                   9.   Undisputed that Freed is the sole self-appointed administrator of

                             his Facebook page. Contested that “no City employee operates or maintains

                             the Facebook page JamesRFreed1” as Freed is such an employee. See



                                                                   3
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                             Paragraph 3, supra. Contested that City of Port Huron provided no support,

                             monetary or otherwise, for Freed’s Facebook Page and has no involvement

                             with his page. At minimum, the JamesFreed1 account was associated with

                             a city email account which is maintained by City employees using city time

                             and resources. Exhibit 3.

                                   10.   Undisputed as to Mr. Freed is the only person he decided to

                             operate the disputed Facebook Page. Others have the “ability.” It is

                             undisputed that Freed opened a public forum on interactive          portion of
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                             Facebook.
     www.olcplc.com




                                   11.   Contested. The assertion is untrue. What Freed argues as

                             “personal” when it is not actually such. These posts are really the furtherance

                             of his marketed public persona as part of his public office. This is not new or

                             unusual (or even improper) in politics. E.g. https://t.co/LjLLIjvP1C (POTUS

                             Valentines for Mrs. Biden, Exhibit 16); https://t.co/rxslEoKY1b (Senate

                             Majority Leader’s grandson winning, Exhibit 17); https://t.co/pUpsYe0UFq

                             (Governor Whitmer’s family dogs, Exhibit 18).

                                   12.   Undisputed that the posts were made but disputes that these

                             posts were “personal.” See response within the preceding paragraph.

                                   13.   Contested. Freed has not offered any objective evidence of the

                             same. However, this assertion is not a material fact. Moreover, many of the


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                             “City-related posts” were more than just announcements. Exhibits 2 and 5.

                                   14.   Undisputed but there were many more, see Exhibit 5.

                                   15.   Contested in part. There is no evidence presented of what “like

                             the rest of the Facebook community” was or was not posting. If Mr. Freed

                             tries to mean that governments and government officials began posting on

                             Facebook posts in response to and about the COVID-19 pandemic, such

                             would be undisputed.

                                   16.   Undisputed; however, this is not a material fact other than to
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                             show that the JamesFreed1 account was distributing information that the
     www.olcplc.com




                             City’s Chief Administrative Officer believed the citizenry of Port Huron would

                             find needed, useful, and helpful as residents.

                                   17.   Contested that Freed never “directed any of his posts to City

                             residents.” E.g. Exhibits 2 and 5. Undisputed that Freed answered

                             questions posted in the comments section under the “posts” Freed made to

                             the Facebook Page, though Freed has failed to preserve all the comments

                             when he “unpublished” his Facebook Page, Freed Dep., ECF No. 23-2,

                             PageID.687-688, and failed to produce the same in discovery.

                                   18.   Undisputed that Mr. Freed blocked numerous people from the

                             Facebook Page and deleted comments when he did not like the content of

                             the comments, including Plaintiff Lindke and others. However, these actions


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                             were not because he deemed his account as personal but rather because

                             the comments were highly critical of his actions and inactions as a public

                             official as well as the actions and inactions of his fellow City government

                             officials. Freed committed viewpoint and content-based discrimination in

                             violation of the First Amendment.

                                   19.   Contested. Plaintiff Lindke never “personally attacked” Mr.

                             Freed. See Exhibit 5. However, Plaintiff Lindke did, on the Facebook Page,

                             critically question Freed’s personal and professional conduct in service as
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                             City Manager of the City of Port Huron. None of the comments on
     www.olcplc.com




                             JamesFreed1 Facebook page were or could be considered “personal

                             attacks” and Freed has failed to preserve and present the same.

                                   20.   Undisputed. Further, Freed also deleted other comments on the

                             interaction section of Facebook and blocked other users as well. Exhibits 6,

                             7, 8, 9 and 10.

                                   21.   Contested that Plaintiff requested the 9,000 members of his

                             Facebook group “Through My Eyes” also make posts. The deposition

                             testimony cited does not establish the same. Undisputed that Freed deleted

                             several other posts, but including those by Lindke and others. See Exhibits

                             6, 7, 8, 9, and 10.

                                   22.   Undisputed that the Facebook Page is currently “unpublished”


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                             and was not made available, in full, to Plaintiff and his counsel to support the

                             basis of this case. Freed has committed spoilation by failing to preserve the

                             Facebook Page’s comments. Plaintiff cannot objectively confirm whether the

                             events Mr. Freed testified to occurred or if the testimony is a fabrication.

                                               STATEMENT OF ADDITIONAL FACTS

                                   23.   Facebook is a “social network” consisting of an online community

                             to facilitate people, businesses, and institutions finding and forming

                             connections through an exchange of different content. Lane v. Facebook,
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                             Inc., 696 F.3d 811, 816 (9th Cir. 2012).
     www.olcplc.com




                                   24.   There are two main types of users: the first are individuals who

                             have “Profiles” and the second are “businesses, brands, organizations and

                             public figures” who have Facebook “Pages.” Exhibit 1.

                                   25.   Users of Facebook can “post” or digitally share text, written

                             messages, photographs, videos, or links to other articles or webpages on

                             their respective Profiles (for individuals) or Pages (for businesses, brands,

                             organizations and public figures). See e.g. Exhibit 5.

                                   26.   As users “post” their text, written messages, photographs, links

                             to articles, and videos, these aggregate within each user’s “newsfeed” which

                             creates an ongoing list of activities happening on Facebook Pages and

                             Profiles to permit a user to “see what’s going on” or going “viral” on


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                             Facebook, https://www.facebook.com/help/753701661398957/ (Exhibit 19)

                                   27.    Here, for example, is a post from the official White House

                             Facebook Page and some comments thereafter—




                                         -Page Name
                                         -Username
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                                                         “Post”




                                                      “Like” Button




                                                       Comments



                                   28.    In addition, users can “like,” “heart,” “dislike” (i.e. clicking a

                             thumbs-up sign, heart, or an angry face) or otherwise “comment” in response

                             to the “posts.” See Paragraph 27 infra.

                                   29.    Everyone can comment on “public” posts. Users can also add

                             written “reply” comments to prior submitted comments. Exhibit 20.

                                   30.    Comments are generally not moderated or pre-approved by


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                             Facebook prior to being displayed online, but posts or comments can be

                             removed, in infrequent instances, for not meeting basic “community

                             standards” required by the social media platform as a term of its use. https://

                             www.facebook.com/communitystandards/

                                   31.    However, unfavorable comments of and regarding government

                             officials, objections to government policies or announcements, and general

                             dissent to ideas or concepts shared in “posts” are not improper uses under

                             Facebook’s community standards. https://www.facebook.com/community
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                             standards/
     www.olcplc.com




                                   32.    Notwithstanding, the owner or administrator of a Page can delete

                             comments/replies made in response to a post on the Page. Exhibit 21.

                                   33.    He or she can also ban particular commenting users. Exhibit 22.

                                               City Manager and his Facebook “Page”

                                   34.    Like many other public figures holding public office, City Manager

                             James R. Freed has a Facebook “Page” (as opposed to a Profile) with a

                             username of JamesRFreed1. See e.g. Exhibit 2.

                                   35.    A Facebook “Page” is reserved for businesses, brands,

                             organizations and public figures as oppose to his personal Profile which is

                             for individuals. Exhibit 1.

                                   36.    Freed separately has a personal Facebook “profile” being


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                             “james.freed.3192.” https://www.facebook.com/james.freed.3192; Exhibit 1

                             (“You must have a profile to create a Page or help manage one.”).

                                   37.   On the Facebook Page, Freed regularly makes posts for general

                             public dissemination, including things like official policy announcements and

                             official city government communications; highlights of local business,

                             nonprofits, and members of the community from, in, and involving the City of

                             Port Huron for self-promotion; and pithy posts for general humor and

                             enjoyment of the constituents of the City of Port Huron. Exhibit 5.
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                                   38.   Freed also further crafts his public “online” image by using
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                             photographs of his family and community stakeholders to broadcast to

                             constituents that he, as part of his office, is a wholesome family man and an

                             important member of the community. Exhibit 5.

                                   39.   This is not new or unusual (or even improper) in politics. E.g.

                             https://t.co/LjLLIjvP1C (POTUS Valentines for Mrs. Biden, Exhibit 16);

                             https://t.co/rxslEoKY1b (Senate Majority Leader’s grandson winning, Exhibit

                             17); https://t.co/pUpsYe0UFq (Governor Whitmer’s family dogs, Exhibit 18).

                                   40.   Freed’s Facebook Page has been set to “visible to everyone;”

                             however users “cannot contact [the] Page privately”—something to be

                             expected with a “public figure” account. Exhibit 4.

                                   41.   The “JamesFreed1” public figure Facebook Page is registered


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                             with the City of Port Huron’s physical address (“100 McMorran Blvd, Port

                             Huron, Michigan 48060”), the City’s website (“http://www.porthuron.org”), the

                             City’s general email address (“CommunityComments@porthuron.org”), and

                             has a designated administrator of James Freed, the City Manager. Exhibit

                             3; Exhibit 14. Its registration lacks any indicia of private party status. Id.

                                   42.   The photograph selected by Freed to be associated with the

                             account (but was changed after this lawsuit started) is of Freed while at the

                             City’s offices and with him wearing his City lapel pin. Exhibit 2. This is the
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                             same official government picture as on the City Manager’s website,
     www.olcplc.com




                             https://www.porthuron.org/departments/city_manager/ (Exhibit 13).

                                   43.   Citizens would “follow” Freed’s Facebook Page “for city

                             information.” E.g. Exhibit 6, DeWitt Dep., p. 7.

                                   44.   The posts made to Freed’s Facebook “Page” permitted citizens

                             to make “comments,” both supportive and critical. See e.g., Exhibit 2;

                             Exhibit 10, Lindke Dep., p. 7.

                                   45.   A great example of confirming a public forum is Freed’s post from

                             March 26, 2020. Exhibit 2. By this example post, Freed was advocating how

                             his local government (“we”) supports Governor Whitmer’s recent social

                             distancing measures imposed as a result of the COVID-19 crisis and the

                             City’s complementary decision for early installation of the community fishing


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                             dock that “we” (meaning the government) did for those who wish to “social

                             distance while fishing.” Id. In response, one user unrelatedly asked if the City

                             of Port Huron will be picking up lawn and leaf bags soon, to which Freed

                             confirmed the same by replying. Id. However, another user relatedly

                             questioned the action of installing the fishing dock and whether it would be

                             furtherance of the social distancing directives in effect in Michigan. Id. No

                             reply was offered. Id.

                                   46.   These individuals, like many other commenters, are not “real life”
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                             friends or family of Freed, but rather local residents and citizens.
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                                   47.   However and central to this case, Freed is not receptive to

                             comments that were highly critical of his official actions, the actions of the

                             Mayor of Port Huron (a political ally), and the actions or inactions of the City

                             government.

                                   48.   He simply deleted unfavorable comments and banned certain

                             users from further commenting when not complimenting or supporting his

                             desired message or viewpoint. This was confirmed several times over by

                             deposition testimony.

                                                      Testimony of Commenters

                                   49.   Marjorie DeWitt, a local individual who works within the City, who

                             testified that she was a follower Freed’s Facebook Page for city information


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                             for “at least a year.” Exhibit 6, DeWitt Dep., p. 7.

                                      50.   She explained right after the lockdown had started, she noticed

                             one of Freed’s post regarding Mayor Repp while inside of a local diner and

                             her failing to socially distance. Id. at 8.

                                      51.   DeWitt’s comment in response to the photograph of the mayor

                             not socially distancing was “good job social distancing, Mayor” as a “kind of

                             a sarcastic remark.” Id.

                                      52.   She confirmed and knows that her “comment was deleted.” Id.
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                                      53.   The comment was made to be “critical” of the Mayor Repp for not
     www.olcplc.com




                             following—on more than one occasion—the mandatory health guidelines. Id.

                             at 13.

                                      54.   DeWitt has a strong interest in the topic because “being around

                             people during this pandemic puts [her] children at risk who are

                             immunocompromised.” Id.

                                      55.   She made the comment hoping the “message would cause

                             change in the way the mayor operated out in public.” Id.

                                      56.   Freed deleted it. Id. at 8.

                                      57.   DeWitt now does not trust Freed won’t simply delete any such

                             message again if she were to make it. Id. at 15.

                                      58.   Janet St. John is a Facebook user who posted a comment to


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                             Freed’s Facebook Page. St. John Dep., Exhibit 7

                                      59.   She testified that she had serious concerns about a local day

                             care controversy involving a convicted sex offender.2 Id. at 8.

                                      60.   She was concerned there were no posts by Freed about what

                             was going on and St. John “wanted to know why” not. Id.

                                      61.   Her comment was deleted. Id. at 12.

                                      62.   Angry about that, she added a comment containing a link to an

                             ACLU article about the impropriety of deleting comments in such a forum. Id.
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                             at 10.
     www.olcplc.com




                                      63.   That was deleted too. Id. at 12.

                                      64.   She made these comments to make him “aware” and “look into

                             it,” and “do his job” to fight for the children of the community. Id. at 13.

                                      65.   Instead, her comments were deleted. Id. at 14.

                                      66.   Christine Woodley also testified she also made several

                             comments to Freed’s Facebook Page. Exhibit 8, Woodley Dep.

                                      67.   Like Ms. DeWitt, Woodley commented on the same picture of

                             Mayor Repp not socially distancing in the same local restaurant. She also

                             commented several times about Larry Whitcomb, a twice-convicted sex



                                     For background, see https://www.fox2detroit.com/news/registered-
                                      2

                             sex-offender-said-to-be-working-at-michigan-daycare-by-ex-employees

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                             offender, living off the grid in St Clair County. Id. at 6.

                                   68.   All told, she made eight to ten different comments. Id. at 14.

                                   69.   These were all deleted. Id.

                                   70.   When those comments were deleted, Woodley also posted a link

                             to the ACLU article about how “public officials can’t block critics on

                             Facebook.”3 Id. at 9.

                                   71.   That too was deleted. Id. at 11.

                                   72.   Robert Pecar also offered testimony that he posted some
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                             comments about the right of free speech in response to when comments
     www.olcplc.com




                             made by others were being deleted by “whoever was running that page and

                             violating our right to free speech” (which we now know to be Freed). Exhibit

                             9, Pecar Dep., p. 22.

                                   73.   He was attempting to advocate to a government official that

                             “there is no place for censorship in America.” Id. at 25-26.

                                   74.   Ironically and frustratingly, Pecar’s comments were deleted and

                             he was banned as a user from Freed’s Facebook Page. Id. at 22, 27-28.

                                   75.   In Pecar’s words, Freed “came in and blocked us all, shut down



                                   3
                                      That article is available at https://www.aclu.org/blog/free-
                             speech/internet-speech/court-rules-public-officials-cant-block-critics-
                             facebook which discusses the then-recently issued decision in Davison v.
                             Randall, 912 F.3d 666 (4th Cir. 2019).

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                             our voice and went on about his merry little way.” Id. at 30.

                                   76.   Finally, there is Plaintiff Kevin Lindke who also posted on Freed’s

                             Facebook “Page” four to six comments directly questioning the early inaction

                             and inattention of government officials from the City of Port Huron (including

                             Freed and Port Huron Mayor Pauline Repp) in response to the COVID-19

                             pandemic. Exhibit 10, Lindke Dep., pp. 22-23.

                                   77.   Lindke raised a similar concern about Mayor Repp captured in

                             the photograph while she was at a local diner in Port Huron and about the
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                             City’s response to COVID-19. Id. at 33, 35-36.
     www.olcplc.com




                                   78.   All were deleted. Id. at 51.

                                   79.   Lindke was banned from posting anything further. Id. at 50-51.

                                                       Freed Deletes and Bans

                                   80.   In summary, the deleted comments made were critical but never

                             crude, vulgar, or threatening. Id. at 58; Exhibit 6, DeWitt Dep., p. 12; St.

                             John Dep., Exhibit 7, p. 13; Exhibit 8, Woodley Dep., pp. 14-15.

                                   81.   And when the comments and questioning by those connected in

                             various ways with the City of Port Huron were too critical (like Lindke, Pecar,

                             Woodley, St. John, and DeWitt), Freed took two general actions. First, he

                             simply deleted (i.e. destroyed) the unfavored comments. Second, Freed

                             prohibited (i.e. banned) those particular commenting-users from ever posting


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                             any other additional comments to the Facebook Page thereby precluding any

                             further comments critical of the government officials of the City of Port Huron.

                             E.g. Exhibit 10, Lindke Dep, pp. 60-61.

                                   82.     Yet, when the comments were not critical, they were left

                             untouched and many times further responded to by Freed himself. E.g.

                             Exhibit 2.4

                                   83.     After the close of discovery, Freed moved for summary

                             judgment. ECF No. 23.
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                                                       COUNTER ARGUMENT
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                                   Freed asserts five reasons why dismissal by summary judgment is

                             warranted. All fail.

                             I.    State Action

                                   Freed first argues he is not a state actor who undertook state action.

                             The argument is meritless. The “public figure” Facebook Page, while

                             peppered with both “ah shucks” family postings together with formal policy

                             and government announcements, has the trappings of his public office. To

                             be state action, the complained of actions by the person must be “related in



                                   4
                                     After deleting critical comments and banning disfavored Facebook
                             users (i.e. commenters), Freed was informed that such violated of the First
                             Amendment. Freed, in a most ironic fashion, deleted those comments and
                             continued to ban Facebook users who were protesting censorship.

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                             some meaningful way either to the actor’s governmental status or to the

                             performance of his duties.” Waters v. City of Morristown, 242 F.3d 353, 359

                             (6th Cir. 2001). Distributing information about the City, its programs and

                             policy decisions, and providing notice of actions it is taking or not taking is

                             easily considered part of a city official’s duties. Freed’s Facebook Page is

                             and was understood to be state action.

                                   The record supports this conclusion. First and foremost, Freed is the

                             City Manager and was operating a Facebook Page which is specifically
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                             reserved to and publicly provided for “public figures.” Exhibit 1. The account
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                             was listed as registered to City Hall (rather than Freed’s home), linked to the

                             City’s website and general email address (as opposed to a personal one),

                             and announces that “under the City Charter Mr. Freed serves as City

                             Manager.” Exhibit 3. No one else would be permitted to maintain a “public

                             figure” Facebook Page as the City Manager of the City of Port Huron without

                             being an official part of the City government. Moreover, Freed was making

                             these posts while serving and being paid as the City Manager. Exhibit 4. He

                             used city time (and by extension, its resources) to make posts to the

                             Facebook Page. Under the City’s Internet policy, all data… whether sent

                             from or received within this system are the property of the City of Port Huron.

                             Exhibit 11, City of Port Huron Admin Reg. 9-9, ¶2. “[P]ublishing unrelated


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                             to work is prohibited.” Id. ¶6.

                                   While Freed now tries—post lawsuit—to treat a “public figure”

                             Facebook Page as a second personal account, it is not—by function or by

                             status. President Trump tried the same argument in Knight I and it was

                             rejected. When the social media user operator becomes a public figure and

                             the social media account is allowed to become “a channel for communicating

                             and interacting with the public,” First Amendment obligations apply. Knight I,

                             928 F.3d at 235. It is only when a public figure “uses his account in ways that
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                             differ from those presented” in Knight I does the issue become a “fact-
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                             specific” inquiry. Id. at 236.5,6 A government official’s posting and interacting

                             with the public on matters of public concern on a city registered social media

                             pages is a state actor undertaking state action.

                                   Freed also suggests that no one else helped him operate this Page.

                             But that cannot be true. There are countless examples why not, but a great



                                   5
                                     The Second Circuit explain the inquiry is “fact-specific” depending on
                             how the official describes and uses the account; to whom features of the
                             account are made available; and how others, including government officials
                             and agencies, regard and treat the account. Knight First I, 928 F.3d at 236.
                                   6
                                      Repeatedly throughout the posts involving announcements,
                             programs, and decisions, Freed almost always uses the word “we” when
                             describing what was happening or had happened, rather than “I” or “me” or
                             him and his wife. Exhibit 5. This is support for the notion that these are
                             actually “government posts” and not personal posts belonging solely to
                             Freed.

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                             one is on bates-stamp 63 of Exhibit 5. In that post, local school

                             superintendent Jamie Cain and Freed held a joint press conference. Query:

                             because Freed is in the picture, who took the photo? See also, e.g., Exhibit

                             5, bates-stamp 73, 75, 87. Someone was helping him.

                                   The “JamesFreed1” Facebook “Page” is simply not now a privately

                             owned account (Exhibit 3), even if it was originally created that way. Knight

                             I explains why.7 But even this Court disagrees, that is a decision for the jury,

                             not this Court on motion. On a motion for summary judgment, “the judge’s
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                             function is not himself to weigh the evidence and determine the truth of the
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                             matter but to determine whether there is a genuine issue for trial.” Jackson

                             v. VHS Detroit Rec. Hosp., Inc., 814 F.3d 769, 775 (6th Cir. 2016).

                             II.   Public Forum

                                   Next, Freed argues that if he is a public figure (which is he is), the

                             Facebook Page—for use by public figures—was not a public forum. That too

                             is nonsense. Social media platforms provide “the most powerful mechanisms

                             available to a private citizen to make his or her voice heard.” Packingham,

                             137 S. Ct. at 1737. A public official’s “Facebook Page bear the hallmarks of




                                   7
                                     Throughout the brief, Freed implies that comments “personally
                             attacked” him or this family. There is no offered proof of this; frankly, it is just
                             untrue.

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                             a public forum.” Davison, 912 F.3d at 682.8, 9

                                   On the Facebook Page, Freed regularly posted government news,

                             policy announcements, and more about what “we” were doing. Exhibit 5.

                             Beneath each posted item, Freed left open the ability for citizens to place

                             comments in response to the specific posts, and would sometimes respond.

                             Exhibit 2. Commenting by the public in such a forum is subject to First

                             Amendment protections. The only reason he now argues that it is not an

                             open forum is because he is in legal pickle for limiting viewpoints and
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                             imposing content-based punishments contrary to the First Amendment. He
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                             left open and invited public commenting and actively responded to questions,

                             requests, statements, and complaints by citizens. Yet when those comments

                             were “too critical,” he removed them and banned the commenters. The First


                                   8
                                     There is no need to go into great detail about what type of forum this
                             is because viewpoint discrimination is prohibited in all forums. Child
                             Evangelism Fellowship of S.C. v. Anderson Sch. Dist. Five, 470 F.3d 1062,
                             1067 fn.2 (4th Cir. 2006).
                                   9
                                     This Court might consider splitting up the Facebook Page into
                             “columns” as done by some courts. See Davison, 912 F.3d at 686 (splitting
                             social media sections in columns and designating one portion as the forum).
                             This Court could more narrowly find that a public official cannot delete
                             comments or ban users who criticize a public official’s actions or government
                             on that part of government-related posts made in the interactive forum left
                             open for communications (i.e. commenting) about matters of public concern.
                             Because no one personally “attacked” Freed or his family members as to
                             posts about them, he had no grounds to retaliate by user-banning and
                             comment-deleting for criticizing municipal action and inaction from posts
                             about City government and its officials.

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                             Amendment does not permit the same. If the Supreme Court’s First

                             Amendment jurisprudence makes anything clear, it is that speech may not

                             be disfavored by the government simply because it offends. See Matal v.

                             Tam, 137 S. Ct. 1744, 1763 (2017) (listing cases).

                                   Like President Trump in Knight I, Freed concedes he deleted

                             comments that criticized him or his government’s policies. Freed Dep., ECF

                             No. 23-2, PageID.676; see also id. at PageID.679 (“I deleted comments I

                             didn’t like” including ones that were “derogatory towards me”). Others
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                             confirmed that their comments were deleted and they were banned too.
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                             Exhibits 6-10. The question is whether the Facebook Page that was 1.)

                             limited for use by “public figures,” 2.) had regular postings and

                             announcements about government policies, news, information, and

                             announcements, and 3.) had open commenting capacity as those

                             government policies, news, information, and announcements to which Freed

                             would sometimes respond constitutes a public forum? Knight provides a

                             clear answer: yes. Knight First I, 928 F.3d at 236. 10 This “public figure”


                                   10
                                     “Because the President, as we have seen, acts in an official capacity
                             when he tweets, we conclude that he acts in the same capacity when he
                             blocks those who disagree with him. Here, a public official… hold[s] out and
                             use[s] a social media account open to the public as an official account for
                             conducting official business. That account has interactive features open to
                             the public, making public interaction a prominent feature of the account.
                             These factors mean that the account is not private.”

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                             Facebook Page is a public forum.

                                    The Fourth Circuit in Davison echoed the same and has been followed

                             as the norm. The government official—while claiming private status—

                             created the Facebook Page, designated the page as belonging to a

                             governmental official, clothed it in the “trappings of her public office,” and

                             listed her official contact information on the page, and added particular

                             webpages to the Page. Davison, 912 F.3d at 683. Freed did the same thing.

                             Exhibit 3. Moreover, the official in Davison (like Freed) placed no formal
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                             limitations on access to the Facebook Page and limit the ability make
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                             comments and posts to the interactive component of the Facebook Page. Id.

                             at 686. The Fourth Circuit held the Facebook Page to be public forum. Id. at

                             687. This Court should and easily can too.

                             III.   Qualified Immunity

                                    Next, Freed claims he was not reasonably informed by the precedents

                             of the federal circuit courts and the Supreme Court to know that he could not

                             commit discrimination based on content and viewpoint and is thusly entitled

                             to qualified immunity. Again, that is nonsense. The Sixth Circuit has long

                             held, based on long established Supreme Court precedent, that content-

                             based restrictions on speech generally face strict scrutiny. Carey v.

                             Wolnitzek, 614 F.3d 189, 199 (6th Cir. 2010); Putnam Pit, Inc. v. City of



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                             Cookeville, Tenn., 221 F.3d 834, 845 (6th Cir. 2000) (viewpoint

                             discrimination is “an egregious form of content discrimination”). The

                             Supreme Court has been even clearer—Freed “violates the First

                             Amendment when [he denied] access to a speaker solely to suppress the

                             point of view [] espouse[d] on an otherwise includible subject.” Cornelius v.

                             NAACP Legal Defense & Educ. Fund, Inc., 473 U.S. 788, 806 (1985).

                                   Freed never disputes, by his motion, that these constitutional principles

                             are well-established law. In fact, he never really talks about them. However,
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                             he instead suggests that such principles were not clearly explained to apply
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                             to internet communications to inform him of his legal responsibilities.

                             Qualified immunity 11 balances “the need to hold public officials accountable

                             when they exercise power irresponsibly” with “the need to shield officials

                             from harassment, distraction, and liability when they perform their duties

                             reasonably.” Pearson v. Callahan, 555 U.S. 223, 231 (2009). The “pre-

                             existing law the unlawfulness must be apparent.” Hope v. Pelzer, 536 U.S.

                             730, 739 (2002). 12



                                   11
                                      Qualified immunity only immunizes defendants from monetary
                             damages—not injunctive or declaratory relief. Kanuszewski v. MDHHS, 927
                             F.3d 396, 417-418 (6th Cir. 2019). The relief sought against Freed in his
                             personal capacity for injunctive and declaratory relief is unaffected.
                                  12
                                     “Officials can still be on notice that their conduct violates established
                             law even in novel factual circumstances.” Hope, 536 U.S. at 739.

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                                   Against the backdrop that the First Amendment applies to internet

                             communications, the Second Circuit’s Knight I decision in 2019 expressly

                             taught Freed that what he was doing—i.e. repurposing a private social media

                             account for public use once assuming a public office and then banning

                             speech/users critical of public conduct—violated the First Amendment.

                             Knight I, 928 F.3d at 226. The Fourth and Sixth Circuits also gave him

                             reasonable prior notice too. The Sixth Circuit equally pronounced “internet

                             speech receives the same First Amendment protection as other speech,” like
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                             viewpoint discrimination and content-based regulations. Signature Mgt.
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                             Team, LLC v. Doe, 876 F.3d 831, 835 (6th Cir. 2017) (citing Reno v. ACLU,

                             521 U.S. 844, 870 (1997)). Discrimination via a Facebook Page also violates

                             the First Amendment. Davison, supra.

                                   Qualified immunity does not require the presentment of a case on all-

                             fours factually. Guertin v. State, 912 F.3d 907, 932 (6th Cir. 2019). Instead,

                             it only requires “fair and clear warning to officers” about what the law

                             requires. Id. Signature gave sufficient notice as to internet speech. At the

                             very latest, Knight I and Davison provided that notice as to newly identical

                             similar circumstances. See Barker v. Goodrich, 649 F.3d 428, 435 (6th Cir.

                             2011) (fair warning can come from the Supreme Court and the circuits

                             established at that time). Qualified immunity does not apply.


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                             IV.   Monell

                                   A constitutional claim against a municipality 13 under § 1983 must be

                             based on its own conduct as oppose to the actions of a rogue employee. See

                             Monell v. N.Y. City Dep’t. of Social Servs., 436 U.S. 658 (1978). Thus, in a

                             named-municipality and/or official-capacity suit, the entity’s policy or custom,

                             and not just their employee’s singular acts, must have played a part in the

                             violation of federal law. To meet the Monell standard, a civil rights plaintiff

                             uses at least one of four methods to establish municipal liability. Thomas v.
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                             City of Chattanooga, 398 F.3d 426, 429 (6th Cir. 2005). Plaintiff asserts that
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                             Monell can be met via a custom or practice and by Pembaur’s particular

                             decision-maker’s decision.

                                   First, the City allows, by custom and practice, the various departments

                             to have and operate their own social media accounts and outreach, including

                             having an open forum for communications. For example, the Police

                             Department has its own. 14 The Parks & Recreation Department does too.15

                             The City Manager did as well for what “we,” the City, were doing. Exhibits

                             3, 4, and 5. As such, it is a custom and practice of City to allow for social


                                   13
                                      In an official-capacity claim, the relief sought is only nominally
                             against the official and, in fact, is against the official’s office and thus the
                             government entity itself. Lewis v. Clarke, 137 S. Ct. 1285, 1292 (2017).
                                  14
                                     https://www.facebook.com/PortHuronPolice
                                  15
                                     https://www.facebook.com/phrec

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                             media accounts and allow for members of the citizenry to comment in an

                             online digital forum. Moreover, the testimony of Lindke, Pecar, Woodley, St.

                             John, and DeWitt all confirm that the deletion of comments and banning of

                             users was not a one-off by Freed but well-established custom and practice

                             across topics of public concerns and among various Facebook users.

                             Because the City had a custom of allowing City officials to operate Facebook

                             Pages in such a manner, such a custom creates Monell liability when such

                             causes constitutional violations.
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                                   Second, Monell is also fulfilled “where the decisionmaker possesses
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                             final authority to establish municipal policy with respect to the action

                             ordered.” Pembaur v. City of Cincinnati, 475 U.S. 469, 481 (1986). Freed has

                             such authority. The City Manager is “the Chief Administrative Officer” and

                             the head of the City’s “administrative branch.” Exhibit 12, §5-1. He “direct[s]

                             and supervise[s] the administration… of the City” and “establish[es] any rules

                             necessary to carry out the duties of the office of City Manager.” Id. §5-1(11).

                             He has been authorized to “perform such duties as are provided by” his own

                             directives. Id. § 5-4(b). One such duty is communicating with the public.

                             Exhibit 13. Here, Freed instituted a policy 16 of removing all unfavorable


                                   16
                                     A Monell “policy” is not a written document. It is a term-of-art to mean
                             “a deliberate choice to follow a course of action is made from among various


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                             comments and banning users who make critical comments from accessing

                             the public figure Facebook Page maintained by the City Manager. Such

                             violates the First Amendment. Monell is again met.

                             V.    Mootness and voluntary cessation

                                   Freed’s final argument asserts the “claims”17 for injunctive and

                             declaratory relief cannot be pursued against him in his personal capacity.

                             That is untrue. Personal capacity suits only involve “personal immunity

                             defenses”—like qualified immunity. Kentucky v. Graham, 473 U.S. 159, 167
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                             (1985). Yet, qualified immunity never precludes injunctive or declaratory
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                             relief by immunity. Kanuszewski, 927 F.3d at 417-418. So why is Freed

                             asserting injunctive and declaratory relief is not available? It is because

                             Freed is confused.

                                   Section 1983 authorizes both monetary and equitable liability via “an

                             action at law, suit in equity, or other proper proceeding for redress.” 42

                             U.S.C. § 1983. Freed, sued in his personal capacity, has “personal liability”

                             for actions he takes under the color of law. Kentucky, 473 U.S. at 165. Both

                             types of remedies have been entered as remedies for constitutional


                             alternatives by city policymakers.” City of Canton v. Harris, 489 U.S. 378,
                             389 (1989).
                                   17
                                       As a threshold issue, there are no “claims” for injunctive or
                             declaratory relief. The claims are Section 1983 First Amendment violations.
                             Injunctions and declaratory judgments are forms of relief, not “claims.”

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                             violations by local municipal officers. E.g. Davison, 912 F.3d at 667, 691

                             (affirming declaratory judgment issued against municipal official sued in her

                             personal capacity). 18

                                   Freed further argues that there is “no occasion” to enter such relief

                             because, according to his counsel, Freed has voluntarily discontinued the

                             use of the Facebook Page. Brief, ECF No. 23, PageID.657. Yet Freed

                             proffered no evidence on that assertion. In realty, the Page is merely “un-

                             published”—meaning it lies dormant ready to spring back when Freed so
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                             decides. Freed Dep., ECF No. 23-2, PageID.687-688. In other words, Freed
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                             has temporarily deactivated, but did not completely terminated, the Page.

                                   Voluntary cessation will only moot a case where there is “no

                             reasonable expectation that the alleged violation will recur,” and “events

                             have completely and irrevocably eradicated the effects of the alleged

                             violation.” Speech First, Inc. v. Schlissel, 939 F.3d 756, 767 (6th Cir. 2019).

                             The burden of demonstrating mootness is on Freed and it is a “heavy one.”



                                   18
                                        However, when suing a state official, Section 1983 is pressed
                             against the defense of state sovereign immunity. State officials sued in
                             his/her official capacity are only subject to prospective declaratory and
                             injunctive relief. However—and as missed by Freed—local municipalities
                             and their officials are not covered by state sovereign immunity and do not fall
                             under the Ex Parte Young framework. Jinks v. Richland Cnty., 538 U.S. 456,
                             466 (2003). The cases cited by Freed involve suits against state, not local,
                             officials.

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                             Id. The burden is further increased when the voluntary cessation “only

                             appears to have occurred in response to the present litigation, which shows

                             a greater likelihood that it could be resumed.” Id. at 769.

                                   On this record, Freed has failed his burden showing complete and

                             irrevocable eradication of the constitutional violations such that it is not

                             “ready to be brought back to life if the need for it reoccurs.” Leonardson v.

                             City of East Lansing, 896 F.2d 190, 194 (6th Cir. 1990). 19

                                                        RELIEF REQUESTED
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                                   By March 2020, it was well established and sufficiently apparent that
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                             deleting comments and banning users from a public official’s social media

                             platform violated the First Amendment. This Court is requested to deny

                             Freed’s summary judgment motion.

                              Date: March 24, 2021                  RESPECTFULLY SUBMITTED:

                                                                    /s/ Philip L. Ellison
                                                                    OUTSIDE LEGAL COUNSEL PLC
                                                                    PHILIP L. ELLISON (P74117)
                                                                    Counsel for Plaintiff




                                   19
                                      However, even if that were the case, it does not defeat
                             compensatory, punitive, or nominal damages relief from these claims.
                             Ermold v. Davis, 855 F.3d 715, 719 (6th Cir. 2017); Uzuegbunam v.
                             Preczewski, No. 19-968, __ U.S. __ (Mar. 8, 2021) (nominal damages
                             survive even if injunctive/declaratory relief becomes moot).

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                                                   LOCAL RULE CERTIFICATION

                                   I, Philip L. Ellison, certify that this document complies with Local Rule

                             5.1(a), including: double-spaced (except for quoted materials and footnotes);

                             at least one-inch margins on the top, sides, and bottom; consecutive page

                             numbering; and type size of all text and footnotes that is no smaller than 10-

                             1/2 characters per inch (for non-proportional fonts) or 14 point (for

                             proportional fonts). I also certify that it is the appropriate length. Local

                             Rule 7.1(d)(3).
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                                                     CERTIFICATE OF SERVICE
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                                   I hereby certify that on date stated below, I filed the foregoing

                             document with the ECF/CM system which will serve an email copy of the

                             same to all counsel of record (at their email address of record) on the date

                             stated below.

                              Date: March 24, 2021                  RESPECTFULLY SUBMITTED:

                                                                    /s/ Philip L. Ellison
                                                                    OUTSIDE LEGAL COUNSEL PLC
                                                                    PHILIP L. ELLISON (P74117)
                                                                    Counsel for Plaintiff




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